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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                        :
                                                :
                  v.                            :
                                                :      Criminal No. 21-552 DLF
KENNETH THOMAS,                                 :
                                                :
           Defendant.                           :

   UNITED STATES’ MOTION IN LIMINE TO PRECLUDE IMPROPER DEFENSE
         ARGUMENTS AND EVIDENCE ABOUT LAW ENFORCEMENT

           The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby requests that the Court issue an order precluding defendant

Kenneth Joseph Thomas from any of the following: (1) arguing any entrapment by estoppel

defense related to law enforcement; (2) offering evidence or argument concerning any claim that

by allegedly failing to act, law enforcement made the defendant’s entry into the United States

Capitol building or grounds or their conduct therein lawful; or (3) arguing or presenting evidence

of alleged inaction by law enforcement unless the defendant specifically observed or was otherwise

aware of such conduct.

      I.      This Court Should Preclude the Defendant from Arguing Entrapment by
              Estoppel.

        Defendant Thomas should be prohibited from making arguments or attempting to introduce

evidence that law enforcement gave him permission to enter in and remain on restricted Capitol

Grounds. “To win an entrapment-by-estoppel claim, a defendant criminally prosecuted for an

offense must prove (1) that a government agent actively misled him about the state of the law

defining the offense; (2) that the government agent was responsible for interpreting, administering,

or enforcing the law defining the offense; (3) that the defendant actually relied on the agent’s

misleading pronouncement in committing the offense; and (4) that the defendant’s reliance was
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reasonable in light of the identity of the agent, the point of law misrepresented, and the substance

of the misrepresentation.” United States v. Chrestman, 525 F. Supp. 3d 14, 31 (D.D.C. 2021)

(emphasis added) (quoting United States v. Cox, 906 F.3d 1170, 1191 (10th Cir. 2018)).

         In Chrestman, this Court rejected an entrapment by estoppel argument raised by a January

6th defendant charged with, inter alia, violations of 18 U.S.C. §§ 1512(c)(2), 1752(a)(1) and

(b)(1)(A) and 1752(a)(2) and (b)(1)(A). Although Chrestman involved an argument that former

President Trump gave the defendant permission to enter the Capitol building, the reasoning in

Chrestman applies equally to an argument that a member of law enforcement gave permission to

the defendant to enter the Capitol building. As the Court explained in Chrestman, “Cox

unambiguously forecloses the availability of the defense in cases where a government actor’s

statements constitute ‘a waiver of law’ beyond his or her lawful authority.” Chrestman, 525 F.

Supp. 3d at 32 (quoting Cox v. Louisiana, 379 U.S. 559, 569 (1965)).

         Just as “no President may unilaterally abrogate criminal laws duly enacted by Congress as

they apply to a subgroup of his most vehement supporters,” no member of law enforcement could

use his authority to allow individuals to enter the Capitol building during a violent riot, and after

“obvious police barricades, police lines, and police orders restricting entry at the Capitol” had

already been put in place by the United States Capitol Police and the Secret Service. Id. at 32.

Indeed, the Court determined in another January 6, 2021 case that, “the logic in Chrestman that a

U.S. President cannot unilaterally abrogate statutory law applies with equal force to government

actors in less powerful offices, such as law enforcement officers protecting the U.S. Capitol

Building.” United States v. Williams, No. 21-cr-377-BAH, ECF No. 87 at *2 (D.D.C. June 8,

2022).

         Even if defendant Thomas could establish that a member of law enforcement told him that

it was lawful to enter in and remain on restricted Capitol Grounds or allowed him to do so,


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defendant’s reliance on any such statement would not be reasonable in light of the “obvious police

barricades, police lines, and police orders restricting entry at the Capitol.” Chrestman, 525 F. Supp.

3d at 32. Moreover, defendant Thomas’ actions belie any argument that he actually relied on any

such statement by law enforcement when he unlawfully remained on restricted Capitol grounds.

In numerous officers’ body worn camera from January 6, Thomas is observed ignoring the

officers’ repeated admonishments to push back and retreat from restricted areas. Rather than obey

their orders, Thomas taunts and, on a number of occasions, assaults those officers. Indeed, in the

minutes that follow two of Thomas’ assaults of MPD officers, Thomas can be seen and heard on

the body worn camera of one of the officer-victims. For example, in the image below, Thomas

can be seen in the tan jacket assaulting the officer wearing the body worn camera at 15:30:49 PM.




Approximately three minutes later, Thomas can be seen and heard from the same officer’s body

worn camera, yelling the following:




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15:33:32: “Police stand down!”
15:33:34: “We want freedom! We want peace!”
15:33:36: “Police stand down!”
15:33:39: “This is our house!”




Accordingly, defendant Thomas should be prohibited from arguing that his conduct was lawful

because law enforcement allegedly told him it was.

     II.      This Court Should Preclude Defendant Thomas from Arguing that Alleged
              Inaction by Law Enforcement Officers Made Their Conduct on January 6, 2021
              Legal.

           In addition to prohibiting any defense arguments that law enforcement actively

communicated to the defendant that entering in and remaining on restricted Capitol Grounds was

lawful, the Court should also bar defendant Thomas from arguing that any failure to act by law

enforcement rendered his conduct legal. The same reasoning that applied in Chrestman again

applies here. That is, like the Chief Executive, a Metropolitan Police Officer or Capitol Police

Officer cannot “unilaterally abrogate criminal laws duly enacted by Congress” through his or her

purported inaction. Chrestman, 525 F. Supp. 3d at 33. An officer cannot shield an individual from

liability for an illegal act by failing to enforce the law or ratify unlawful conduct by failing to

prevent it. Indeed, another the Court expressly reached that conclusion in Williams earlier this

year. See Williams, No. 21-cr-377-BAH, ECF No. 87 at *3 (“Settled caselaw makes clear that law
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officer inaction—whatever the reason for the inaction—cannot sanction unlawful conduct.”). It

should apply the same principle in this case. Accordingly, defendant Thomas should be prohibited

from arguing that his conduct was lawful because law enforcement officers allegedly failed to

prevent it or censure it when it occurred.

    III.   This Court Should Preclude Defendant Thomas from Arguing or Presenting
           Evidence of Alleged Inaction by Law Enforcement Officers Unless He Specifically
           Observed or Was Otherwise Aware of Such Conduct.

       The government acknowledges that the conduct of law enforcement officers may be

relevant to defendant Thomas’ state of mind on January 6, 2021. However, unless he shows that,

at the relevant time, he specifically observed or was otherwise aware of some alleged inaction by

law enforcement, such evidence is irrelevant to his intent. Federal Rule of Evidence 401 states that

evidence is relevant if it “has any tendency to make a fact more or less probable … and the fact is

of consequence in determining the action.” Fed. R. Evid. 401. Here, if defendant Thomas was not

aware of law enforcement’s alleged inaction at the time of his entry onto restricted Capitol Grounds

(or at the time they committed the other offenses charged in the Second Superseding Indictment),

any alleged inaction would have no bearing on the defendant’s state of mind and therefore would

not meet the threshold for relevance. Again, the Court adopted the same reasoning in granting an

analogous motion in limine in Williams. See Williams, No. 21-cr-377-BAH, ECF No. 87 at *3-4.

The Court should reach the same conclusion in this case and should exclude testimony and

evidence of any alleged inaction by the police as irrelevant, except to the extent defendant Thomas

shows that he specifically observed or was aware of the alleged inaction by the police when he

committed the offenses charged in the Second Superseding Indictment.




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                                        CONCLUSION

       For the reasons set forth herein, the United States respectfully requests that this Court

preclude improper argument or evidence related to entrapment by estoppel, that law enforcement’s

alleged inaction rendered the defendant’s actions lawful, and any evidence or argument relating to

alleged inaction by law enforcement except to the extent that the defendant specifically observed

or were otherwise aware of such conduct at the relevant time.


                                             Respectfully submitted,

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